986 F.2d 1412
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ira Wayne CLONIGER, Plaintiff-Appellant,v.Ashby OLIGER, Sheriff, Defendant-Appellee.
    No. 92-7146.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  February 1, 1993Decided:  February 23, 1993
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  James R. Spencer, District Judge;  David G. Lowe, Magistrate Judge.  (CA-91-590-R)
      Ira Wayne Cloniger, Appellant Pro Se.
      Robert S. Corish, Slenker, Brandt, Jennings &amp; Johnston, Merrifield, Virginia, for Appellee.
      E.D.Va.
      AFFIRMED.
      Before HALL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Ira Wayne Cloniger appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Cloniger v. Oliger, No. CA-91-590-R (E.D. Va.  Sept. 18, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    